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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA
                                 Criminal No. 21-176(1) (SRN)

    UNITED STATES OF AMERICA,

                          Plaintiff,                        PLEA AGREEMENT AND
                                                            SENTNNCING STIPULATIONS
            v.

    (1)   MUNAII HABRIS YOUSSEF

                         Defendant.               1

           The United States of America and MUNAH HARRIS YOUSSEF agree to

    resolve this case on the terms and conditions that follow. This plea agreement binds

    only the defendant and the United States Attorney's Offrce for the District of

    Minnesota. This agreement      d.oes   not bind any other United States Attorney's OfEce

    or any other federal, state, or local agency.

     .      l.      Charses. In        exchange   for the   concessions   of the United             States

    contained. in this plea agreement, the defendant voluntarily agrees to
                                                                           plead guilty to

    Count L of the Information, which charges the defendant with conspilacy to defi'aud

    the United. States, in violation of Title 18, United States Code, Section 3?1. The

    d,efendant    fully understands the natule and elements of the crimes charged and is

    pleading guitty because she is gtrilty as charged. In exchange for the d'efendant's

    guilry plea, the government will not seek additional charges against the defendant

    based on information known to the government as of th'e time of this agreement.

            Z.      Factual Basis. By pleading grrilty, the defendant ad.mits the following

    facts and. that those facts establish her guilt beyond a reasonable d'oubt:

                                                                                                      D

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                                                                             r
                                                                                 j.s, DlsTRlcT   Gou[q]i:qAul
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      In March 2018, d.efendant was federally enjoinedfrom engagrng in federal tax-

preparation services. Despite this injunction, beginning in or about January 2019,

d.efendant entered. an agreement with co'conspirator A to defraud the United
                                                                             States

by aiding and assisting in the preparation of false tax returns. Defendant and co'

conspirator A created the business Pro Tax Services to facilitate this conspiracy.

      Between January 28, 2019, and April 2!,zOLg, the co'conspirators used Pro

Tax Services to prepare hundr.eds of frauc{ulent tax returns using knowingly false

information to fi'aud,ulently obtain tax refund.s to which clients were not entitled.

Specifi.cally, the co-conspir.ators regularly prepared and filed income tax retulns
                                                                                    that

included knowingly bogus Schedule C information indicating that clients had

significant business expenses with little or no business income. The co'conspilators

knew this information was false and fraudulent, as they created the information and

knew that many clients did not even opelate a qualifring business. The co'

conspiratole did this to falsely inflate their clients' tax refunds, which garnered

business, enabled. chauging higher fees for tax-preparation setvices, and allowed the

occasional d.iversion of a portion of their clients'inflated rrefunds for the benefit of
                                                                                         the

co-conspirators. Both the defendant and co-conspirator A took overt acts to facilitate

the conspir.acy by aiding and assisting one another in the preparation of these false

tax retulns:
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                                                             False         Amount of
                                                            Item(s)        Fraudulent
                                                            Claimed           Refund

                                                          Landscaping
                                                          Expenses and
                                                             Income
 Co-Conspilatot        February    11,                    (Schedule C;
        A                  2019                            Lines 7,28)
                                                           $0Income;
                                                             $25,784
                                                            Expenses


                                                          Landscaping
                                                          Expenses and
                                                             Income
                                                           (Schedule C;
                       February    12,                     Lines 7,28)
                           2019                            $0Income;
                                                             $33,467
                                                            Expenses



                                                              Barter
                                                          Expenses and
                                                             Income
                                                           (Schedule C;
    Harris &            February 23,                       Lines 7,28)
  Co-conspirator            2019                           $0Income;
         A
                                                              $8,593
                                                             Expenses



      In total, the conspir.acy consisted of   142   fl'audulent tax retutns, which resulted

in a tax loss to the government of $41"1,324. The co-conspirators netted $58,905 in

tax-preparation fees, of which defendant received approximately $31,505'

       3.    Waiver of Indictment. The defendant agrces to waive indictment by

grand. jur.y on   this charge and consents to the filing of a criminal information. The
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d.efendant      fi[ther   aglees to execute a written waiver of her       fight to be indicted on

this offense.

          4.      Waiver of Pretrial Motions. The defendant understands and agrees
                                                                                   part of this plea
that she has ceutain rights to frle pretrial motions in this            case. As


agteement, and based. on the concessions of the govelnment within
                                                                  this plea
                                                                waives her right to
agreement, the d.efendant knowingly, willingly, and voluntatily

flle and litigate additional pre-trial motions'

          5.      Waiver of Constitutional Trial Rights. The defendant und'erstands

that she has the right to plead not guilty and         go to   trial. At tr{al, the defendant would

be presumed. innocent, have the        right to a jury trial or'-in cer:tain circumstances-to

trial by the cour.t, the right to the assistance of counsel, the right to confront
                                                                                   and

cross-examine adverse witnesses, the right to subpoena witnesses to
                                                                    testi& for the

               the right to testifr and present evid,ence, and the right to be protected
                                                                                         foom
d.efense,

compelled self-incrimination. By pleading guilty, the defendant
                                                                knowingly, willingly,

 and. voluntarily waives each         of these r{ghts, except the right to counsel' The

 d.efendant understands that a guilty plea is a complete admission of
                                                                      guilt and,               if the

 cour.t accepts the guilw plea, the court will adjudge the defendant
                                                                     guilty without a

 trial.

          6.       Statutory Penalties. The defendant             und.erstands that Count 1 of the

 Information (Conspiracy to        Defr.aud. the   United States, in violation of Title 18, United

                                                                   penalties:
 States Code, Section 3?1) calries the following maximum statutory
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                a.   a maximum impr"isonment term of 5 years;

                b.   a maximum supervised release term of 3 years;

                c.   a maximum fine of $250,000 or twice the gloss gain or loss fi'om
                     the offense;

                d.   a mandatory special assessment of $L00;

                e.   payment of mandatory restitution; and

                f.   an assessment to the defendant for the costs of prosecution-

      7.        Revocation of Supervised Release. The defendant understands

that, upon release, she will be subject to conditions of supervised release. The
defendant uncl,erstands that   if   she violates any condition of supervised release, she

could be sentenced to an ad.ditional term of impr{sonment up to the length of the

otiginal ter.m of superviseil release, subject to the statutory maximum set forth in   18


u.s.c.   $ 3583.

         8.     Guidelines Calculations. The parties acknowledge that                 the

defendant will be sentenced in accordance with 18 U.S.C. $ 3551, et seq. The parties

also acknowledge that the Cour.t        will independently consider the United States
Sentencing Guidelines in d.etermining the appropriate sentence. Nothing in this plea

agreement should be construed. to        limit the parties from presenting any relevant

evidence to the Cour.t at sentencing. The palties stipulate to the following guidelines

calculations:

                a.   Base Offense Level. The parties agree that the base offense level
                     is 20 because the tax loss corxesponding to Count I' is more than
                     $250,000 but less than $550,000, and because the defendant was
                     in the business of preparing tax retwns. u.s.s.G. $$ 2T1.9(a)(1);
                     2T4.L.
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  b.    Specific Offense Characteristics. The parties agree       that no
        specific offense characteristics apply.

        Chaoter 3 Adiustments. Apart from acceptance of responsibility,
        the parties agree that no Chapter' 3 adjustments apply.

        Acceptance   of Responsibilitv. The government agrees to
       recommend that the defendant receive a 2-level reduction for
       acceptance of responsibility pursuant to U.S.S.G. $ 8E1.1(a).
       Whether the reduction will be imposed shall be determined by the
       Court in its discletion. In exercising its discretion, the defendant
       understands that the Court likely will consider the following
       occulrences: (1) the defendant's trutMul testimony dur{ng the
       change of plea and sentencing hear.ings; (Z) the defendant
       providing fuIl, complete, and truthful infornation to the United
       States Probation Offrce in the pre-sentence investigation; and (B)
       the defendant     engaging   in no conduct inconsistent        with
       acceptance of responsibility beforr the time of sentencing.

       The government also agrees to move for an additional l-level
       reduction because the defendant timely notified the government
       of her intention to plead grrilty. U.S.S.G. g 881.1(b).

  e.    Cr"iminal History Cateeorv. The parties believe that, at the tine
        of sentencing, the defendant will fall into Cr{minal History
        Category I. U.S.S.G. $ 44,1.1. This does not constitute a
        stipulation, but a belief based on an assessment of the
       information culrently known. The defendant's actual cr.iminal
       history and related status will be determined by the coult based
       on the information presented in the Presentence Report and by
       the parties at the time of sentencing. The defendant understands
       that if the presentence investigation reveals any prior adult or
       juvenile sentence that should be included within her crirrrinal
       history under the u.s. sentencing Guidelines, the defendant will
       be sentenced based on her tr:ue crimind history categorlr, and she
       will not be permitted to withdr.aw ft.om this Plea Agreement.
       u.s.s.G. $ 4A1.

       Guidelines Ranre. If the adjusted offense level is 1? (20.8), and
       the criminal history category is I, the Guidelines range is
       24-30   months of imprisonment.



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               g.         Fine RanEe. If the adjusted offense level is L7, the Guidelines fine
                          l'ange is $10,000 to $95,000. U.S.S.G. S 581'2(cXB)'

               h.         Suoervised. Release. The Sentencing Guidelines recommend a
                          ."p"*i*a t.t""r" term of         one   to three yeafs. u.s.s.G.
                          $ 5D1.2(aXs).

               i.         Sentenciag Recommendation and Departutas. The government
                                 t"          for a sentence within the applicable Guidelines
                          "g""* The "dt*ate
                                        defendant reserves the right to advocate for a
                          "irrg..
                          sentence outside the applicable Guidelines range'

      g.       Discretion of the Court. The foregoing stipulations are binding on

the parties, but    d.o   not bind the Coult. The parties understand that the Sentencing

Gtdd.elines are advisory and their application is a matter that falls solely
                                                                             within the

Court's discretion. The Court             will make its own determination regauding        the

applicable Guidelines factors and the applicable criminal history category- The Court

may also depart or vary fr.om the apptcable Guidelines range. If the Coult determines

that the applicable Guid.elines calculations or the defendant's criminal history
category is different fr.om that stated above, the parties may not withdlaw fr'om this

agr.eement,    and the d.efendant will be sentenced pursuant to the court's
determinations.

         10.   Special Assessment. The Guidelines require payment of a special

assessment of $100, which becomes due and payable upon sentencing. u.s.s.G.                  $


5E1.3.

         11.    Criminal FiRe. The parties agree that          a fine is not appropriate given

the defendant's restitution obligations.
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       lZ. Restitution. The defendant understands and agxees that the
Mandatory victim Restitution Act, 18 U.S.C. S 36634, applies to her offense and
                                                                                that

the Court is required to order that she pay restitution to the victim of her crime'
                                                                                    The

parties agree that the Court should enter a restitution order for the benefit of the

Internal Revenue Service in the amount of g411,324, which accounts for the falsely

inflated tax refunds that resulted from defendant's involvement in the conspiracy.

The IRS will account for any funds ah.eady recovered and the co'conspilators
                                                                             will be

jointty and severally liable for the payment of this restitution.

       13.                                                                  The   defendant

understands      that 18 U.S.C. S 3742 affords her the right to appeal the          sentence

             in this case. Acknowledging this right, the defendant hereby waives          aII
imposed

d.efenses and    her right to appeal any non-jurisdictional issues, including, but not

limited to the constitutionality   of the statutes to   which she is pleading guilty, whether

her admitted cond.uct falls within the scope of those statutes, ancl the amount of

festitution. The parties agree, however, that excluded fl.om this waiver is the
defendant's     right to appeal a term of imprisonment that          exceeds the applicable

Guidelines range. In addition, the d.efendant has been advised of her right to file a

petition under 28 U.S.C. $ 2255, and expressly waives the right to frle such a petition,

 except for reserving the right to raise a claim of ineffective assistance of counsel
                                                                                           in

 such a petition. The defendant understand.s the rights being waived, and she
                                                                              waives

 these rights knowingly, willingly, and     voluntarily. In exchange, the United       States

 waives its right to appeal the sentence imposed.


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        14.   FOIA Requests. The defendant hnowingly, willingly, and voluntarily

waives all rights to obtain, directly or thlough others, information about the

investigation and prosecution of this case under the Freedom of Infotmation Act and

the Privacy Act of I974,5 U.S.C. S$ 652, 5524.

        15.   Comnlete Asreement. This, and any agf,eements signed by the parties

before entry of the plea, is the entire agreement and understanding between the

United States and the defendant. Other than this plea agreement, the defendant

acknowledges      that no thleats, promises, or representations have eaused         the

d.efendant to plead     guilty. The defendant acknowledges that   she has read this plea

agreement and carefully reviewed each provision with her attorney. The defendant

fur'ther acknowledges that she understands and voluntar'ily accepts each term and

condition of this plea agreement.

                                                CTIARLES J. KOVATS, JR.

        11t18t2021
Date:
                                                BYI JORDANL.
                                                Assistant United States Attorneys



                                                         HARRIS YOUSSEF



Date: tl lt
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                                                KEALA EDE
                                                Counsel for Munah Harlis Youssef




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